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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                         DECISION AND ORDER
                                                                      11-CR-202S-9
MICHAEL SMERKA,

                            Defendant.




       1.     On June 26, 2013, the Defendant entered into a written plea agreement

(Docket No. 223) and pled guilty to Count 1 of the Indictment (Docket No.1) charging a

violation of Title 21 U.S.C. § 846 (conspiracy to possess with intent to distribute, and to

distribute, cocaine).

       2.     On June 26, 2013, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 225) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

       4.     This Court has carefully reviewed de novo Judge Foschio’s June 26, 2013,

Report and Recommendation, the plea agreement, the Indictment, and the applicable law.

Upon due consideration, this Court finds no legal or factual error in Judge Foschio’s Report

and Recommendation, and will accept Judge Foschio’s recommendation that Defendant’s

plea of guilty be accepted and that the Defendant be adjudicated guilty as charged.

       IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s June 26, 2013,

Report and Recommendation (Docket No. 225) in its entirety, including the authorities

cited and the reasons given therein.
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      FURTHER, that the plea of guilty of Defendant Michael Smerka is accepted, and

he is now adjudged guilty of Title 21 U.S.C. § 846.

      SO ORDERED.


Dated: July 22, 2013
       Buffalo, New York


                                                        s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                             Chief Judge
                                                      United States District Court




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